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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
RAHUL D. MANCHANDA and                                         :                   2/23/2021
SYLWIA EWELINA MADEJ MANCHANDA,                                :
                                                               :     20-CV-1773 (GBD) (RWL)
                                    Plaintiffs,                :
                                                               : REPORT AND RECOMMENDATION
         - against -                                           :  TO HON. GEORGE B. DANIELS:
                                                               :      MOTION TO DISMISS
ANDREA LEWIS, SUSAN QUINTANA,                                  :
U.S. CITIZENSHIP AND IMMIGRATION                               :
SERVICES, and DOES 1-5,                                        :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

       Plaintiffs Rahul D. Manchanda (“Manchanda”) and Sylwia Ewelina Madej

Manchanda (“Madej Manchanda”) bring this action to redress what they allege to be

improper and retaliatory behavior by Defendants Andrea Lewis, an Immigration

Services Officer; Susan Quintana, Director of the New York City Field Office, U.S.

Citizenship and Immigration Services (“USCIS”); USCIS; and Does 1-5. Manchanda,

an immigration attorney, proceeds pro se; Madej Manchanda is represented by her

husband Manchanda. Before the Court is Defendants’ motion to dismiss for lack of

subject matter jurisdiction and failure to state a claim pursuant to Rules 12(b)(1) and

12(b)(6) of the Federal Rules of Civil Procedure. For the reasons set forth below, I

recommend that Defendants’ motion to dismiss be GRANTED and the action

DISMISSED.

                                  Factual Background

A.     The Adjustment of Status Interview and Formal Administrative Complaint

       On February 13, 2020, in connection with Madej Manchanda’s application to


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become a permanent resident of the United States, Plaintiffs and their infant son

appeared at USCIS’s New York City Field Office for a “marriage adjustment of status

interview” before Lewis.       (Compl. ¶¶ 34-37. 1)     Later that day, Madej Manchanda,

through Manchanda, would file a “formal complaint and request for an investigation with

the civil rights divisions of the U.S. Department of Justice and Department of Homeland

Security” (the “2/13 Claim”). 2 (Compl. ¶ 51.)

         Plaintiffs allege they were the last to be interviewed in a room of hundreds of

people – even though their interview was scheduled for 2:00 p.m., Plaintiffs had to wait

until about 4:30 p.m.      (Compl. ¶¶ 35, 37.)        While Plaintiffs were waiting, “various

DHS/UCSIS Officers floated around Plaintiffs, snickering,” “making negative comments”

about Plaintiffs, and “hinting/insinuating/indicating how they were going to screw them

because Mr. Manchanda was a famous immigration lawyer who is a conservative with a

firm political stand.” (Compl. ¶ 38.) Plaintiffs claim they were subject to this mocking

“while my 6 month old baby cried hysterically, we had to change his pampers in the

waiting facility, and other horrific abuses.” (2/13 Claim at 2.)

         After Plaintiffs finally were taken in to see Lewis for the interview, Lewis allegedly

“insinuated that my beautiful Polish wife was a prostitute, that I was marrying her for


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    “Compl.” refers to Plaintiffs’ Amended Complaint (Dkt. 32).
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  The “2/13 Claim” describes the events from earlier that day and is attached as Exhibit
A to Plaintiffs’ Amended Complaint (Dkt. 32-1). Although Plaintiffs allege that Madej
Manchanda filed the 2/13 Claim through Manchanda, the content of the 2/13 Claim is
self-evidently written by Manchanda himself, in the first person. See, e.g., 2/13 Claim at
2 (“I am one of the top immigration lawyers in New York City and the United States, …
so I obviously know what I am doing”; referring to “my wife”; alleging that Lewis
“insinuated that … I was marrying her for fraudulent purposes”), 3 (“Having practiced
immigration law for nearly 20 years in New York City …, I have never seen such an …
interview”; “I certainly will not accept it for me, my beautiful wife, and my beautiful baby
son”; “I need redress, justice, and a remedy now”).

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fraudulent purposes, questioned the ‘bona fides’ of our marriage, and mocked my

profession as a leading New York City immigration lawyer for the past 20 years who

regularly appears on [various television news outlets].” (2/13 Claim at 2.) Lewis then

asked questions of Madej Manchanda “that are really none of her business, have

nothing to do with our marriage or her adjustment of status interview.” (2/13 Claim at 2.)

And, although Plaintiffs provided Lewis with “a ton of documents required under the

immigration laws,” Lewis “basically ignored it, and instead chose to insult, harass, and

mock us and our baby son, making my beautiful and decent Christian wife from Poland,

tear up and cry.” (2/13 Claim at 2.)

       During the interview, Lewis, who is African-American, also allegedly “made subtle

racist comments to Mr. Manchanda, an Indian-American, and Madej, who is white and a

Polish model,” such that the interview “felt more like a Gestapo or KGB interrogation

than an immigration marriage interview.” (Compl. ¶¶ 39-40; 2/13 Claim at 2.) Indeed,

Lewis “kept trying to … trip us up, trap us, and make us say something that wasn’t even

true.” (2/13 Claim at 2.)

       Manchanda commented in the 2/13 Claim that “[t]his is what is wrong with

Socialism/Communism – giving one human being with all of their inherent bias, racist

feelings, jealousy, arrogance and abuse of power, abuse of law and authority to hurt

and harm others”; that in his nearly twenty years of immigration law practice, he has

“never seen such an ugly, egregious, disturbing, flippantly biased, humiliating, and

abusive interview”; and that he would “not accept” such conduct, demanding “a remedy”

and investigation. (2/13 Claim at 3.)




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B.     The Alleged Retaliation

       Plaintiffs allege that instead of addressing the issues raised in the 2/13 Claim,

Lewis (and eventually Quintana) responded with “severe, relentless, and ongoing

reprisals and retaliation.”   (Compl. ¶ 53.)       The Complaint describes three allegedly

retaliatory events.

       The first alleged event is that Manchanda “began receiving weird client

inquiry/phone calls/emails/texts from a purported ‘DHS/USCIS federal employee’ saying

that they were afraid of ‘death’ and ‘direct energy weapons’ and other such disturbing

comments because they filed a complaint against another DHS/USCIS employee.”

(Compl. ¶ 54.) Manchanda concedes, however, that he “is unaware if [this person] was

a legitimate prospective client, or a friend of Defendant ISO Lewis, her representative or

a private investigator.”      (Compl. ¶ 55.)       Although Plaintiffs allegedly asked “the

agencies” to investigate the communications as “reprisals in violation of federal law,” no

specifics are provided as to whom, when, or how they asked. (Compl. ¶ 56.)

       The second alleged retaliatory event is that Lewis mailed Plaintiffs a notice for a

follow-up, “Stokes Interview” scheduled for May 2020 (the “Stokes Notice”), which

Plaintiffs received on February 27, 2020. 3 (Compl. ¶ 57.) The Complaint alleges that

the Stokes Notice “was mailed on February 18, 2020, five (5) days after [Plaintiffs’]

formal complaint against Defendant ISO Lewis” but “fraudulently ‘post-dated’ as of

February 14, 2020.” (Compl. ¶¶ 58-59.) Plaintiffs further allege that Lewis mailed the


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  “Stokes” interviews are separate interviews of a husband and wife to determine
whether their marriage was bona fide or instead entered into for the purpose of evading
the immigration laws. Dinsey v. Department of Homeland Security – United States
Citizenship and Immigration Services, No. 03-CV-10081, 2004 WL 1698630, at *1
(S.D.N.Y. July 28, 2004); see Stokes v. United States, Immigration and Naturalization
Service, 393 F. Supp. 24, 28-33 (S.D.N.Y. 1975).

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Stokes Notice to Plaintiffs’ “old apartment address, deliberately … with an intent to get

the notice lost so that Madej would miss the interview,” even though Plaintiffs updated

their address “online officially several times with official confirmation notices

weeks/months prior,” “verbally informed Defendant ISO Lewis about the change of

address,” and “gave Defendant ISO Lewis the official address change [ ] confirmation

notices.” (Compl. ¶¶ 60-62.)

       The third and last alleged retaliatory event is that after a “second request to

investigate the violation of federal law 42 U.S.C. § 2000ee-1(e) by Defendant ISO

Lewis,” Quintana “has begun to deny every single case that Manchanda files on behalf

of his private immigration clients.” (Compl. ¶ 64.)

                                   Procedural History

       On February 28, 2020, Madej Manchanda filed the initial complaint in this action,

alleging violations of 42 U.S.C. §§ 1983 and 2000ee-1(e) by Lewis. (Dkt. 1.) The case

was referred to the undersigned for General Pretrial purposes and Report and

Recommendation on March 5, 2020.           (Dkt. 7)   Six days later, Madej Manchanda

amended her complaint to add a claim under the Federal Tort Claims Act. (Dkt. 10.)

On April 23, 2020, the Court ordered Madej Manchanda to show cause why her

complaint should not be dismissed for failure to state a claim, and for lack of subject

matter jurisdiction where applicable. (Dkt. 21.) Following a show cause hearing on May

14, 2020, the Court ordered Madej Manchanda to amend her complaint or face

dismissal. (Dkt. 27.) Madej Manchanda filed the operative Complaint on June 15,

2020, adding Manchanda as a plaintiff; Quintana, USCIS, and Does 1-5 as defendants;

and claims for violations of due process and the Administrative Procedure Act. (Dkt.



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32.) On July 31, 2020, Defendants filed their motion to dismiss the Complaint. 4 (Dkt.

38.)

                                      Legal Standards

         As an initial matter, the Court notes the well-settled principle that “[a] document

filed pro se is ‘to be liberally construed,’ and ‘a pro se complaint, however inartfully

pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers.’” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quoting Estelle v. Gamble, 429

U.S. 97, 106 (1976)). A court must interpret such complaints “to raise the strongest

arguments they suggest,” the idea being that “[i]mplicit in the right of self-representation

is an obligation on the part of the court to make reasonable allowances to protect pro se

litigants from inadvertent forfeiture of important rights because of their lack of legal

training.” Triestman v. Federal Bureau of Prisons, 470 F.3d 471, 474-75 (2d Cir. 2006)

(internal quotation marks omitted). That said, “a lawyer representing himself ordinarily

receives no such solicitude at all.” Tracy v. Freshwater, 623 F.3d 90, 102 (2d Cir.

2010).

         On a motion to dismiss pursuant to Rule 12(b)(1) for lack of subject matter

jurisdiction, a court must dismiss a claim if it “lacks the statutory or constitutional power

to adjudicate it.” Morrison v. National Australia Bank Ltd., 547 F.3d 167, 170 (2d Cir.

2008) (internal quotation marks omitted), aff’d, 561 U.S. 247 (2010). “The plaintiff bears


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  On November 12, 2020, the U.S. Attorney’s Office for the Southern District of New
York (then counsel for Lewis and USCIS) informed the Court that it had obtained
representation authority for Quintana as of that date, and requested that the Court
construe Defendants’ motion to dismiss as having been filed on Quintana’s behalf as
well. (Dkt. 44.) The Court granted the request. (Dkt. 45.) With respect to Defendants
Does 1-5, Plaintiffs have not identified or served them since filing the Complaint on June
15, 2020. Accordingly, in the discussion that follows, the Court recommends that
Plaintiffs’ claims against them be dismissed without prejudice.

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the burden of proving subject matter jurisdiction by a preponderance of the evidence.”

Aurecchione v. Schoolman Transportation System, Inc., 426 F.3d 635, 638 (2d Cir.

2005). In deciding a Rule 12(b)(1) motion to dismiss, the Court “‘must take all facts

alleged in the complaint as true and draw all reasonable inferences in favor of plaintiff.’”

Morrison, 547 F.3d at 170 (quoting Natural Resources Defense Council v. Johnson, 461

F.3d 164, 171 (2d Cir. 2006)).       The court also “may consider affidavits and other

materials beyond the pleadings to resolve the jurisdictional issue.” J.S. ex rel. N.S. v.

Attica Central Schools, 386 F.3d 107, 110 (2d Cir. 2004); see also Makarova v. United

States, 201 F.3d 110, 113 (2d Cir. 2000) (“In resolving a motion to dismiss for lack of

subject matter jurisdiction under Rule 12(b)(1), a district court … may refer to evidence

outside the pleadings”).

        To survive a Rule 12(b)(6) motion, a complaint must plead “enough facts to state

a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007). A claim is facially plausible when the factual content pleaded allows a

court “to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Where a complaint pleads facts

that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between

possibility and plausibility of “entitlement to relief.”’” Id. (quoting Twombly, 550 U.S. at

557).

        In considering a motion to dismiss for failure to state a cause of action, a district

court must “accept[ ] all factual claims in the complaint as true, and draw[ ] all

reasonable inferences in the [non-moving party’s] favor.”           Lotes Co. v. Hon Hai

Precision Industry Co., 753 F.3d 395, 403 (2d Cir. 2014) (internal quotation marks



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omitted). This tenet, however, is “inapplicable to legal conclusions. Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Iqbal, 556 U.S. at 678. Rather, the complaint’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level, … i.e., enough to make the

claim plausible.”   Arista Records LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010)

(internal quotation marks omitted).     A complaint is properly dismissed where, as a

matter of law, “the allegations in [the] complaint, however true, could not raise a claim of

entitlement to relief.” Twombly, 550 U.S. at 558.

       When deciding a motion to dismiss pursuant to Rule 12(b)(6), a court generally is

confined to the facts alleged in the complaint.      See Cortec Industries, Inc. v. Sum

Holding L.P., 949 F.2d 42, 47 (2d Cir. 1991). A court may, however, consider additional

materials, including documents attached to the complaint, documents incorporated into

the complaint by reference, matters of which judicial notice may be taken, public

records, and documents that the plaintiff either possessed or knew about, and relied

upon, in bringing the suit. See Kleinman v. Elan Corp., 706 F.3d 145, 152 (2d Cir.

2013). In that regard, if “a document relied on in the complaint contradicts allegations in

the complaint, the document, not the allegations, control, and the court need not accept

the allegations in the complaint as true.” Poindexter v. EMI Record Group Inc., No. 11-

CV-559, 2012 WL 1027639, at *2 (S.D.N.Y. March 27, 2012) (citing Barnum v. Millbrook

Care Limited Partnership, 850 F. Supp. 1227, 1232-33 (S.D.N.Y. 1994)).

                                       Discussion

       The Complaint asserts five causes of action. The first alleges violation of 42

U.S.C. § 1983 “pertaining to a civil action for deprivation of rights under the color of law



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and authority by government/judicial/public official defendants.” (Compl. ¶ 85.) The

second alleges violation of a provision of the Intelligence Reform and Terrorism

Prevention Act, 42 U.S.C. § 2000ee-1(e), “dealing with Reprisals/Retaliation for filing a

bona fide legitimate complaint against federal Defendant ISO Lewis and her

cohorts/cronies.” (Compl. ¶ 97.) The third alleges violation of “Plaintiffs’ constitutional

right to substantial and procedural due process” pursuant to Bivens v. Six Unknown

Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971). (Compl. ¶ 100.)

The fourth alleges violation of the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2671-

2680 (the “FTCA”) – specifically, “abuse of process … intended to harm the Plaintiffs

without economic or social excuse or justification.” (Compl. ¶ 108.) The fifth alleges

violation of the Administrative Procedure Act (the “APA”) for issuance of the Stokes

Notice and for unreasonable delay in deciding on Plaintiffs’ adjustment of status

application.   (Compl. ¶¶ 119-120, 122-125.)       The Complaint demands actual and

punitive damages “in an amount to be determined by a jury.” 5 (Compl. at 29.)

       Each of the Complaint’s five causes of action are meritless. Plaintiffs’ § 1983

claim fails because it is well established that § 1983 does not apply to actions against

the federal government or its officers acting under color of federal law.        Plaintiffs’

§ 2000ee-1(e) claim fails because § 2000ee-1 does not create a private right of action.

Plaintiffs’ Bivens claim fails because expansion of the Bivens remedy to this context

would contravene Supreme Court precedent.          Plaintiffs’ FTCA claim fails because

Plaintiffs did not exhaust their administrative remedies as required to bring such a claim.


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  The Court refers to Plaintiffs’ Prayer for Relief. For violations of 42 U.S.C. §§ 1983
and 2000ee-1(e), Plaintiffs seek $10,000,000 in actual and punitive damages – though
these demands appear to be remnants from Madej Manchanda’s earlier complaints.
(Compare Compl. ¶¶ 85, 97, with Dkt. 11 ¶¶ 46, 48, and Dkt. 1 ¶¶ 42, 44.)

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And Plaintiffs’ APA claim fails because Plaintiffs do not allege either final agency action

that this Court could review or unreasonably delayed agency action that this Court could

compel.

A.       42 U.S.C. § 1983 Does Not Apply to the Federal Government or Its Officers

         “Section 1983 authorizes private suits against any ‘person who, under color of

any statute, ordinance, regulation, custom, or usage of any State ... subjects, or causes

to be subjected, any citizen of the United States ... to the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws.’” Legg v. Ulster County,

979 F.3d 101, 116 (2d Cir. 2020) (omissions in original) (quoting 42 U.S.C. § 1983); see

O’Donoghue v. United States Social Security Administration, 828 F. App’x 784, 787 (2d

Cir. 2020) (“‘To state a claim under § 1983, a plaintiff must allege that defendants

violated plaintiff’s federal rights while acting under color of state law.’” (quoting

McGugan v. Aldana-Bernier, 752 F.3d 224, 229 (2d Cir. 2014))). “Section 1983, of

course, does not apply to allegedly unlawful acts of federal officers ….” United States v.

Acosta, 502 F.3d 54, 60 (2d Cir. 2007) (citing Wheeldin v. Wheeler, 373 U.S. 647, 650

n.2 (1963)); see also Omosefunmi v. Weiss, 198 F.3d 234 (table), 1999 WL 973516, at

*1 (2d Cir. 1999) (“Actions of the Federal Government and its officers are … facially

exempt from § 1983’s proscriptions.” (brackets omitted) (quoting District of Columbia v.

Carter, 409 U.S. 418, 424-25 (1973))).

         As Plaintiffs correctly point out, a plaintiff need not use the magic words “under

color of state law” in alleging unlawful state action. (Pl. Opp. at 30. 6) But a plaintiff still

must allege state action. Here, Plaintiffs fail to plead any facts showing that Defendants



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    “Pl. Opp.” refers to Plaintiffs’ Opposition to Defendants’ Motion to Dismiss (Dkt. 41).

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violated their constitutional rights while acting under color of state, as opposed to

federal, law.    Furthermore, the only named defendants in this case are the federal

government (USCIS) and its officers (Lewis, Quintana, and Does 1-5), who are not

covered by § 1983.         Indeed, none of the facts plead even vaguely suggest the

involvement of state or local actors or actions.

       Accordingly, Plaintiffs’ § 1983 claim should be dismissed with prejudice. 7

B.     42 U.S.C. § 2000ee-1(e) Does Not Provide for a Private Right of Action

       42 U.S.C. § 2000ee-1(e) states in relevant part:

                No action constituting a reprisal … for making a complaint …
                to a privacy officer or civil liberties officer ..., or to the Privacy
                and Civil Liberties Oversight Board, that indicates a possible
                violation of privacy protections or civil liberties in the
                administration of the programs and operations of the Federal
                Government relating to efforts to protect the Nation from
                terrorism shall be taken by any Federal employee in a
                position to take such action.

As Defendants argue and Plaintiffs concede, § 2000ee-1 does not explicitly provide for

a private right of action. The question is whether the Court should create or imply one.

       The Supreme Court recently recognized that

                [w]ith the passage of time, … we have come to appreciate
                that, “[l]ike substantive federal law itself, private rights of
                action to enforce federal law must be created by Congress”
                and “[r]aising up causes of action where a statute has not
                created them may be a proper function for common-law


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   Where a plaintiff improperly brings a § 1983 claim against a federal official acting
under color of federal law, courts may and routinely do construe such a claim as a
Bivens action. See Tavarez v. Reno, 54 F.3d 109, 109-110 (2d Cir. 1995) (“Although
[the plaintiff] brought the action [against federal authorities] under § 1983, the district
court properly construed the complaint as an action under Bivens …, which requires a
plaintiff to allege that a defendant acted under color of federal law to deprive plaintiff of
a constitutional right.”); see also Aikman v. County of Westchester, 691 F. Supp. 2d
496, 499 (S.D.N.Y. 2010) (collecting cases). Here, the Court need not do so because
Plaintiffs bring a separate claim under Bivens. The Court discusses that claim below.

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              courts, but not for federal tribunals.”

Comcast Corp. v. National Association of African American-Owned Media, 140 S. Ct.

1009, 1015 (2020) (second and third alterations in original) (quoting Alexander v.

Sandoval, 532 U.S. 275, 286-87 (2001)). Indeed, “when a court recognizes an implied

claim for damages on the ground that doing so furthers the ‘purpose’ of the law, the

court risks arrogating legislative power.”     Hernandez v. Mesa, 140 S. Ct. 735, 741

(2020). Accordingly, the Court has clarified that

              when deciding whether to recognize an implied cause of
              action, the determinative question is one of statutory intent.
              If the statute itself does not displa[y] an intent to create a
              private remedy, then a cause of action does not exist and
              courts may not create one, no matter how desirable that
              might be as a policy matter, or how compatible with the
              statute. … [T]he judicial task [i]s instead limited solely to
              determining whether Congress intended to create the private
              right of action asserted. If the statute does not itself so
              provide, a private cause of action will not be created through
              judicial mandate.

Ziglar v. Abbasi, 137 S. Ct. 1843, 1855-56 (2017) (first alteration in original) (internal

quotation marks and citations omitted).

       To begin, § 2000ee establishes the Privacy and Civil Liberties Oversight Board

(the “PCLOB”) “as an independent agency within the executive branch.” § 2000ee(a).

The purpose of the PCLOB is to “analyze and review actions the executive branch takes

to protect the Nation from terrorism, ensuring that the need for such actions is balanced

with the need to protect privacy and civil liberties”; and to “ensure that liberty concerns

are appropriately considered in the development and implementation of laws,

regulations, and policies related to efforts to protect the Nation against terrorism.”

§ 2000ee(c). Section 2000ee-1, the statute at issue in this case, in turn directs the

heads of certain executive branch departments, agencies, and elements to designate at

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least one “senior officer” to perform functions similar to those of the PCLOB within their

own department, agency, or element. 8        § 2000ee-1(a).    Finally, §§ 2000ee-2 and

2000ee-3 address the implementation of data protection policies and procedures within

federal agencies, and the obligation of federal agencies that engage in data mining to

file annual reports on their practices.

       Having reviewed the text and context of 42 U.S.C. § 2000ee-1, the Court finds no

indication that Congress intended to create a private remedy. Where “‘[n]o provision of

[a statute] explicitly provides for a private right of action for violations of [specific

provisions of that statute], ... we must presume that Congress did not intend one.’” Doe

v. Merck & Co., Inc., 803 F. App’x 559, 560 (2d Cir. 2020) (alterations and omission in

original) (quoting Olmsted v. Pruco Life Insurance Co. of New Jersey, 283 F.3d 429,

432 (2d Cir. 2002)). Plaintiffs bear “a heavy burden … to demonstrate otherwise.”

Olmsted, 283 F.3d at 433.

       As Plaintiffs aptly observe, “[n]owhere in the statute are any powers to pursue

civil or criminal actions assigned to the [PCLOB or the senior officer]”; “[t]his [ ]

essentially leave[s] parties who have suffered retaliation for reporting actions of

terrorism without any remedy as both the [government] and individuals could not bring

an action.” (Pl. Opp. at 32.) However, they do no more than suggest that it would be


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   Specifically, the senior officer is to assist “the head … and other officials … in
appropriately considering privacy and civil liberties concerns when … proposing,
developing, or implementing laws, regulations, policies, procedures, or guidelines
related to efforts to protect the Nation against terrorism”; “periodically investigate and
review … actions, policies, procedures, guidelines, and related laws and their
implementation to ensure … adequate[ ] consider[ation] [of] privacy and civil liberties”;
“ensure that [there are] adequate procedures to receive, investigate, respond to, and
redress complaints from individuals who allege … violat[ion] [of] their privacy or civil
liberties”; and “periodically … submit a report on the[ir] activities”; etc. 42 U.S.C.
§ 2000ee-1(a)(1)-(3), (f)(1).

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“prudent” for the Court to “input [sic] a private cause of action.” (Pl. Opp. at 32.) As

such, Plaintiffs have not met their “heavy burden” to show that Congress had intended

there to be one. See Olmsted, 283 F.3d at 433. And, as discussed, “If the statute itself

does not ‘displa[y] an intent’ to create ‘a private remedy,’ then ‘a cause of action does

not exist and courts may not create one, no matter how desirable that might be as a

policy matter.’” Abbasi, 137 S. Ct. at 1856 (alteration in original) (quoting Sandoval, 532

U.S. at 286-87).

       Because Plaintiffs’ 42 U.S.C. § 2000ee-1(e) claim lacks a statutory basis, it

should be dismissed with prejudice.

C.     Bivens Should Not Be Extended to the Facts of This Case

       Bivens is the “more limited … federal analog” to 42 U.S.C. § 1983. Hartman v.

Moore, 547 U.S. 250, 254 n.2 (2006). In 1971, the Supreme Court recognized in Bivens

an implied damages action to compensate a man who had been handcuffed in his home

without a warrant by unnamed federal narcotics officers, in violation of the Fourth

Amendment’s prohibition against unreasonable search and seizures.           Bivens v. Six

Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388, 397 (1971). In

the following decade, the Court allowed Bivens-type remedies twice more, in a wrongful

termination-sex discrimination case brought by a congressional staffer under the Fifth

Amendment’s Due Process Clause, Davis v. Passman, 442 U.S. 228 (1979), and in an

Eighth Amendment cruel and unusual punishment case where prison officials’ failure to

treat an inmate’s asthma led to his death, Carlson v. Green, 446 U.S. 14 (1980).

“These three cases – Bivens, Davis, and Carlson – represent the only instances in

which the Court has approved of an implied damages remedy under the Constitution



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itself.” Abbasi, 137 S. Ct. at 1855.

       Since then, the Court has “recognized that Congress is best positioned to

evaluate whether, and the extent to which, monetary and other liabilities should be

imposed upon individual officers and employees of the Federal Government based on

constitutional torts,” Hernandez, 140 S. Ct. at 742 (internal quotation marks omitted);

“has made clear that expanding the Bivens remedy is now a ‘disfavored’ judicial

activity,” Abbasi, 137 S. Ct. at 1857 (quoting Iqbal, 556 U.S. at 675); “has ‘consistently

refused to extend Bivens to any new context or new category of defendants,” id.

(quoting Correctional Services Corp. v. Malesko, 534 U.S. 61, 69 (2001)); and has

“gone so far as to observe that if ‘the Court’s three Bivens cases [had] been … decided

today,’ it is doubtful that [the Court] would have reached the same result,” Hernandez,

140 S. Ct. at 742-43 (first alteration and omission in original) (quoting Abbasi, 137 S. Ct.

at 1856).

       A court asked to extend Bivens must engage in a two-step inquiry. First, does

the claim “arise[ ] in a ‘new context’ or involve[ ] a ‘new category of defendants’”?

Hernandez, 140 S. Ct. at 743 (quoting Malesko, 534 U.S. at 68).                  A court’s

understanding of “new context” should be “broad,” and a context should be regarded as

“new” if it is “‘different in a meaningful way from previous Bivens cases decided by [the]

Court.’” Id. (quoting Abbasi, 137 S. Ct. at 1859). If a court finds that a claim arises in a

new context, the second question is, “are there any special factors [that] counse[l]

hesitation” – that is, do “we have reason to pause”? Id. (alterations in original) (internal

quotation marks omitted).      “‘[C]entral to [this] analysis’ are ‘separation-of-powers

principles.’” Id. (second alteration in original) (quoting Abbasi, 137 S. Ct. at 857). A



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court must “consider the risk of interfering with the authority of the other branches, and

… ask whether there are sound reasons to think Congress might doubt the efficacy or

necessity of a damages remedy, and whether the Judiciary is well suited, absent

congressional action or instruction, to consider and weigh the costs and benefits of

allowing a damages action to proceed.”        Id. (internal quotation marks and citations

omitted).

       It is beyond dispute that Plaintiffs’ claim arises in a “new context.” In short,

Plaintiffs allege that Lewis subjected them to mistreatment during their adjustment of

status interview, and that Quintana has “den[ied] every single case that Manchanda

filed on behalf of his private immigration clients” simply to retaliate against Manchanda

for filing a complaint. (Compl. ¶ 92.) At the broadest level of generality, Plaintiffs claim

violation of their Fifth Amendment due process rights in the context of the adjustment of

status process. 9 Plaintiffs’ claim thus differs meaningfully from the Court’s previous

Bivens cases: “a claim against FBI agents for handcuffing a man in his own home

without a warrant; a claim against a Congressman for firing his female secretary; and a

claim against prison officials for failure to treat an inmate’s asthma.” 10 Abbasi, 137 S.



9
   Plaintiffs allege that Quintana has been sabotaging both Manchanda’s “immigration
client cases” and “the immigration filings of Manchanda’s clients.” (Compl. ¶¶ 93, 104.)
It is unclear what Manchanda means by “cases” and “filings.” The Court understands
Manchanda to refer to other adjustment of status applications that Manchanda has filed
on behalf of other clients. The Court does not address the question whether Plaintiffs
have standing to assert the rights of Manchanda’s clients. See Kowalski v. Tesmer, 543
U.S. 125, 129 (2004) (“We have adhered to the rule that a party generally must assert
his own legal rights and interests, and cannot rest his claim to relief on the legal rights
or interests of third parties.” (internal quotation marks omitted)).
10
   It is of no moment that among Bivens, Davis, and Carlson, Davis also implicated the
Fifth Amendment’s Due Process Clause as “the Court declined to create an implied
damages remedy in the following cases: … a substantive due process suit against

                                            16
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Ct. at 1860.

      “Special factors” should also give the Court pause. The parties spill a great deal

of ink discussing whether the existence of alternative remedies forecloses Bivens relief

here. (See Def. Mem. at 11-14; Pl. Opp. at 26-28. 11) The Court will not wade into those

murky waters. 12 Suffice it to say that the recognition of a damages remedy against

immigration officials in the context of the adjustment of status process would be akin to

“establish[ing] [a] whole [new] categor[y] of cases in which federal officers must defend

against personal liability claims.” Abbasi, 137 S. Ct. at 1858. Such sweeping action

“requires an assessment of its impact on governmental operations systemwide” – a

move more fitting for Congress to make. 13 Id.



military officers; a procedural due process suit against Social Security officials; a
procedural due process suit against a federal agency for wrongful termination; … [and]
a due process suit against officials from the Bureau of Land Management.” Abbasi, 137
S. Ct. at 1857 (citing United States v. Stanley, 483 U.S. 669, 671-72, 683-84 (1987);
Schweiker v. Chilicky, 487 U.S. 412, 414 (1988); FDIC v. Meyer, 510 U.S. 471, 473-74
(1994); Wilkie v. Robbins, 551 U.S. 537, 547-48, 562 (2007)).
11
   “Def. Mem.” refers to Defendants’ Memorandum of Law in Support of their motion to
dismiss (Dkt. 39).
12
   See Oliveras v. Basile, 440 F. Supp. 3d 365, 374-76 (S.D.N.Y. 2020) (the FTCA
provided alternative remedial structure precluding Bivens remedy for false arrest and
excessive force claims in connection with injurious detonation of explosive devices).
But see Bueno Diaz v. Mercurio, 442 F. Supp. 3d 701, 710 (S.D.N.Y. 2020) (“Bivens
and FTCA actions vindicate different wrongs” and availability of the FTCA “does not
alone compel a conclusion that a remedy under Bivens is precluded”).
13
   As another “special factor” for the Court to consider, Defendants suggest that
“immigration policy is so exclusively entrusted to the political branches of government
as to be largely immune from judicial inquiry or interference.” (Def. Mem. at 14 (quoting
Harisiades v. Shaughnessy, 342 U.S. 580, 589 (1952)).) That may once have been the
case, but recent events have confirmed the willingness of the courts to take a more
active role in the just and lawful enforcement of our nation’s immigration laws. See,
e.g., Department of Homeland Security v. Regents of the University of California, 140 S.
Ct. 1891, 1916 (2020) (rescission of Deferred Action for Childhood Arrivals program

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       The Court should not recognize a Bivens remedy based on the specific facts of

this case, and Plaintiffs’ Bivens claim should be dismissed with prejudice.

D.     Plaintiffs Have Not Exhausted Their Administrative Remedies to Be Able to
       Bring an FTCA Claim

       The FTCA provides that “[t]he United States shall be liable, respecting the

provisions of this title relating to tort claims, in the same manner and to the same extent

as a private individual under like circumstances.” 28 U.S.C. § 2674. Congress has

established an exhaustion prerequisite that a plaintiff must satisfy to validly invoke the

FTCA. Specifically, “[a]n action shall not be instituted … against the United States …

unless the claimant shall have first presented the claim to the appropriate Federal

agency and his claim shall have been finally denied by the agency in writing and sent by

certified or registered mail.” 28 U.S.C. § 2675(a). “The failure of an agency to make

final disposition of a claim within six months after it is filed shall, at the option of the

claimant any time thereafter, be deemed a final denial of the claim.”            28 U.S.C.

§ 2675(a).

       “The FTCA bars claimants from bringing suit in federal court until they have

exhausted their administrative remedies.” McNeil v. United States, 508 U.S. 106, 113

(1993). “This requirement is jurisdictional and cannot be waived.” Celestine v. Mount

Vernon Neighborhood Health Center, 403 F.3d 76, 82 (2d Cir. 2005). “The burden is on


was arbitrary and capricious as agency “failed to consider [ ] conspicuous issues,”
“rais[ing] doubts about whether the agency appreciated the scope of its discretion or
exercised that discretion in a reasonable manner”); New York v. United States
Immigration and Customs Enforcement, 466 F. Supp. 3d 439, 449 (S.D.N.Y. 2020)
(agency’s policy of conducting civil immigration arrests at New York State courthouses
was “unlawful” violation of common law privilege against courthouse civil arrests;
adoption of policy also was arbitrary and capricious as agency “effectively offered no
rationale other than its misguided reliance on [an] Executive Order” that was “silent on
the topic”).

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the Plaintiff to both plead and prove compliance with the [FTCA’s] statutory

requirements.” In re Agent Orange Product Liability Litigation, 818 F.2d 210, 214 (2d

Cir. 1987). “The interest in orderly administration of this body of litigation is best served

by adherence to the straightforward statutory command.” McNeil, 508 U.S. at 112.

       Here, Plaintiffs ask the Court to construe the 2/13 Claim; Madej Manchanda’s

initial complaint, filed February 28, 2020; correspondence from Manchanda to USCIS,

dated March 1, 2020; and a Standard Form 95 Claim for Damage, Injury, or Death,

dated March 6, 2020, as “claims” under the FTCA. 14 (Pl. Opp. at 15.) The Court

declines to do so as the FTCA makes clear that “the claimant shall have first presented

the claim to the appropriate Federal agency” before filing suit. 28 U.S.C. § 2675(a).

Assuming for the sake of argument that the 2/13 Claim was a proper administrative

claim, 15 nowhere in the Complaint or their opposition brief do Plaintiffs demonstrate that

the 2/13 Claim was “finally denied by the agency,” either “in writing … sent by certified

or registered mail” or by “failure … to make [a] final disposition … within six months after

[the claim was] filed.” 28 U.S.C. § 2675(a).


14
    Plaintiffs claim that “[i]n this case, a Form 95 was actually even timely prepared and
filed.” (Pl. Opp. at 15.) Plaintiffs, however, are silent as to when exactly the Form 95
was filed. The Court therefore assumes that Plaintiffs are referring to the Standard
Form 95 that they filed with the Court on June 29, 2020 – that document is dated March
6, 2020. (Dkt. 36-1.) See J.S. ex rel. N.S., 386 F.3d at 110 (a court “may consider …
materials beyond the pleadings to resolve [ ] jurisdictional issue[s]”).
15
   See 28 C.F.R. § 14.2 (“a claim shall be deemed to have been presented when a
Federal agency receives from a claimant … written notification of an incident,
accompanied by a claim for money damages in a sum certain for injury … alleged to
have occurred by reason of the incident”); Romulus v. United States, 160 F.3d 131, 132
(2d Cir. 1998) (“In this Circuit, a Notice of Claim filed pursuant to the FTCA must provide
enough information to permit the agency to conduct an investigation and to estimate the
claim’s worth. A claim must be specific enough to serve the purpose of the FTCA to
enable the federal government to expedite the fair settlement of tort claims.”).


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       At most, Plaintiffs allege that “[u]pon information, the USCIS investigated and it is

understood from a DHS Civil Rights Officer ‘Ms. Keels’ that the investigators found

against Defendant ISO Lewis and were ‘taking action against her.’” 16 (Compl. ¶ 68; see

also Pl. Opp. at 11.) But an agency’s statement that it will take action in response to a

complaint is not a “final[ ] deni[al]” or “final disposition” under 28 U.S.C. § 2675(a). See

Roberson v. Greater Hudson Valley Family Health Center, Inc., No. 17-CV-7325, 2018

WL 2976024, at *3 & n.2 (S.D.N.Y. June 12, 2018). Moreover, Plaintiffs do not explain

whether the purported communication was sent to them “in writing and … by certified or

registered mail.” 28 U.S.C. § 2675(a).

       Accordingly, Plaintiffs fail to show that they exhausted their administrative

remedies; the Court lacks subject matter jurisdiction to hear their FTCA claim; and the

claim should be dismissed without prejudice. 17

E.     Plaintiffs Do Not Allege Final Agency Action Necessary for an APA Claim;
       Nor Do Plaintiffs Allege Unreasonably Delayed Agency Action

       The APA provides that “final agency action for which there is no other adequate

remedy in a court [is] subject to judicial review.” 5 U.S.C. §§ 702, 704. “The reviewing

court shall … hold unlawful and set aside agency action … found to be … arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.


16
   Further underscoring the “future action” point, Madej Manchanda filed the following
email with the Court on March 26, 2020: “Hello: Miss Keels [ ] USCIS Customer Service
called to say that they will be taking action against ISO Lewis and to please accept her
apology on behalf of the US Government.” (Dkt. 11-1.) See Makarova, 201 F.3d at 113
(“In resolving a motion to dismiss for lack of subject matter jurisdiction under Rule
12(b)(1), a district court ... may refer to evidence outside the pleadings”).
17
   The Court therefore does not reach the questions whether the 2/13 Claim was a
proper administrative claim, whether Plaintiffs adequately allege abuse of process under
New York State law, and whether Plaintiffs’ FTCA claim is defective because they have
not named the United States as a defendant.

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§ 706(2)(A). A court’s “APA review is limited to [ ] final agency action.” Larson v. United

States, 888 F.3d 578, 587 (2d Cir. 2018). “[A]n action is ‘final’ if it both (1) ‘mark[s] the

“consummation” of the agency’s decisionmaking process’ and (2) is ‘one by which

“rights or obligations have been determined,” or from which “legal consequences will

flow.”’”     Smith v. Berryhill, 139 S. Ct. 1765, 1775-76 (2019) (second alteration in

original) (quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)). “This requirement of

finality is jurisdictional.” Air Espana v. Brien, 165 F.3d 148, 152 (2d Cir. 1999); accord

Sharkey v. Quarantillo, 541 F.3d 75, 87 (2d Cir. 2008).

           Plaintiffs allege that “[h]ere, Defendants’ actions that led to the required Stokes

Interview were arbitrary, capricious, and an abuse of discretion.”          (Pl. Opp. at 28.)

Specifically, “Plaintiffs and their infant baby were arbitrarily made to wait for the

interview for a prolonged time, [and] humiliated, intimidated, discriminated, abused, and

insulted.”      (Compl. ¶ 117.)    Furthermore, “Defendant ISO Lewis issued a ‘Stokes

Interview Notice’ without any specific reason[,] just to retaliate and reprise and harass

Plaintiffs for filing a complaint with DHS and DOJ Civil Rights Divisions,” and “without

considering the statutorily required documents and evidence.” (Compl. ¶¶ 119-120.)

           Defendants argue that none of the alleged misconduct is a “final agency action”

reviewable by the Court, in the sense that none represents a consummation of USCIS’s

decisionmaking process, none has affected, let alone determined, Plaintiffs’ rights and

obligations, and none has generated legal consequences for Plaintiffs. Defendants are

correct, and in opposition Plaintiffs offer no response.          Indeed, Plaintiffs seem to

acknowledge that a Stokes Notice does no more than “mandate another interview

(‘interrogation’) which could take hours if not days, [and] separates the married couple



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into different rooms, where they are to be viciously interrogated.” (Pl. Opp. at 8.) As

discussed, however, the sole purpose of this interview is to help immigration officials

determine whether a couple’s marriage is bona fide or instead has been entered into for

the purpose of evading the immigration laws. Dinsey, 2004 WL 1698630 at *1; see

Stokes, 393 F. Supp. at 28-33. One can hardly call this a “consummation.”

      Based on the facts plead, the only conceivable final agency action that the Court

could potentially review is a USCIS decision on Plaintiffs’ adjustment of status

application – i.e., on whether Madej Manchanda may remain in the United States as a

permanent resident. Plaintiffs do not allege that such a determination has been made.

      Accordingly, the Court lacks subject matter jurisdiction to hear Plaintiffs’ “arbitrary

and capricious” claim, and it should be dismissed without prejudice.

      Additionally, Plaintiffs allege that their adjustment of status application “has been

pending with Defendants beyond the reasonable time required ... to conclude it.”

(Compl. ¶ 122.) Defendants therefore allegedly have violated the APA’s requirement

that an agency conclude a matter “within a reasonable time,” 5 U.S.C. § 555(b), and the

Court may compel “agency action unlawfully withheld or unreasonably delayed,” 5

U.S.C. § 706(1). (Compl. ¶¶ 123-125.)

      The Second Circuit has instructed that “[i]n determining reasonableness, we look

to the source of delay – e.g., the complexity of the investigation as well as the extent to

which the defendant participated in delaying the proceeding.” Reddy v. Commodity

Futures Trading Commission, 191 F.3d 109, 120 (2d Cir. 1999). In addition, courts in

this District often apply a six-factor test set forth in Telecommunications Research and

Action Center v. Federal Communications Commission, 750 F.2d 70, 80 (D.C. Cir.



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1984). See, e.g., Baisheng Chen v. Wolf, No. 19-CV-9951, 2020 WL 6825681, at *4

(S.D.N.Y. Nov. 20, 2020); Ying Yu Liu v. Wolf, No. 19-CV-410, 2020 WL 2836426, at *7

(S.D.N.Y. May 30, 2020). The facts of this case, however, do not call for such nuanced

analysis.

       According to the facts as plead, Plaintiffs’ adjustment of status interview took

place on February 13, 2020, and Plaintiffs’ Stokes Interview was scheduled to take

place on May 12, 2020. Plaintiffs filed the operative Complaint alleging unreasonable

delay on June 15, 2020, only a month or so after the last alleged agency action. Thus,

there is no indication that a decision on Plaintiffs’ adjustment of status application is

being unreasonably delayed. To the contrary, “the Complaint shows that rather than

delaying, USCIS is processing Plaintiffs’ application by attempting to conduct a Stokes

[I]nterview, which Plaintiffs are resisting.” (Def. Mem. at 20 n.7.)

       Plaintiffs also fail to allege sufficient facts to support their claim. The Complaint

does not state when Plaintiffs initially filed their adjustment of status application. 18 This

makes it impossible for the Court to determine how much time has passed since then –

i.e., whether there has been a delay and, if so, whether the delay is reasonable as a

matter of law.

       Accordingly, Plaintiffs’ “unreasonably delayed” claim also should be dismissed

without prejudice.

F.     Plaintiffs Have Not Identified or Served Does 1-5

       Since filing the Complaint on June 15, 2020, Plaintiffs have made no effort to

identify or serve Defendants Does 1-5.         Accordingly, the Court recommends that


18
  In their opposition brief, Plaintiffs claim that they filed their application “[a]fter their
marriage” – which is of no help to the Court. (Pl. Opp. at 3.)

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Plaintiffs’ claims against Does 1-5 be dismissed without prejudice. See Cruz v. City of

New York, 232 F. Supp. 3d 438, 448 (S.D.N.Y. 2017) (“[w]here a plaintiff has had ample

time to identify a John Doe defendant but gives no indication that he has made any

effort to discover the [defendant’s] name, … the plaintiff simply cannot continue to

maintain a suit against the John Doe defendant” (alterations in original) (internal

quotation marks omitted)).

                                       Conclusion

      For the foregoing reasons, I recommend that Plaintiffs’ 42 U.S.C. § 1983, 42

U.S.C. § 2000e-1(e), and Bivens claims be DISMISSED with prejudice; that Plaintiffs’

FTCA and APA claims be DISMISSED without prejudice; and that any and all claims

against Does 1-5 be DISMISSED without prejudice.

                             Procedures for Filing Objections

      Pursuant to 28 U.S.C. § 636(b)(1) and Rules 72, 6(a), and 6(d) of the Federal

Rules of Civil Procedure, the parties shall have fourteen (14) days to file written

objections to this Report and Recommendation. Such objections shall be filed with the

Clerk of Court, with extra copies delivered to the Chambers of the Honorable George B.

Daniels, 500 Pearl Street, New York, NY 10007, and to the Chambers of the

undersigned, 500 Pearl Street, New York, NY 10007.        FAILURE TO FILE TIMELY

OBJECTIONS WILL RESULT IN WAIVER OF OBJECTIONS AND PRECLUDE

APPELLATE REVIEW.

                                         SO ORDERED.



                                         _________________________________
                                         ROBERT W. LEHRBURGER
                                         UNITED STATES MAGISTRATE JUDGE


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Dated: February 23, 2021
       New York, New York

Copies transmitted this date to all counsel of record. The Clerk’s Office is directed to
mail a copy of this Report and Recommendation to Plaintiff pro se and note service on
the docket:

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